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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DANIEL A. ROMANICK,

Plaintiff, Case # l3-CV-6006-FPG
v. DECISION AND ORDER
CORNING, lNC.,
DARLENE l\/IARINO, and
STEEL WORKERS UNION LOCAL l000,

Defendants.

 

INTRODUCTION

Pro se Plaintiff Daniel A. Romanick commenced this lawsuit against his former
employer, Corning, lnc. (“Corning”), Corning human resources employee Darlene l\/larino
(“l\/larino”), and his former union, Steel Workers Union Local 10001 ("Local l000”). ECF No.
l. Plaintiff’s Complaint, While difficult to parse, appears to center around his request for time
off in December 2009 and his subsequent termination from employment at Corning, and further
alleges that Local 1000 breached its duty of fair representation by failing to take his dispute over
the time off request and his termination to arbitration Id. All Defendants have moved to
dismiss the Complaint under Fed. R. Civ. P. lZ(b)(6) for failure to state a claim upon Which
relief could be granted ECF Nos. 9, lO. For the following reasons, the Defendants’ motions

(ECF Nos. 9, 10) are granted, and this action is dismissed With prejudice

DISCUSSION
ln ruling on a motion to dismiss under Fed. R. Civ. P. lZ(b)(G), the Court “must accept
as true all of the factual allegations contained in the complaint,” Bell AI'Z. Corp. v. Twombly, 550

U.S. 544, 572 (2007), and “draW all reasonable inferences in Plaintifi0 s favor.” F.aber v. Metro.

 

l Local 1000’s correct name is “United Steel Workers, Local 1000.”

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Lz`fe Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011). To survive a motion to dismiss, a complaint must
contain sufficient factual matter, accepted as true, to “state a claim to relief that is plausible on its
face.” Twombly, 550 U.S. at 570. A complaint is plausible when a plaintiff pleads sufficient
facts that allow the Court to draw reasonable inferences that the defendant is liable for the
alleged conduct. Ashcro]’i v. Iqbal, 556 U.S. 662, 678 (2009). “Factual allegations must be
enough to raise a right to relief above the speculative level,” and the stated grounds for relief
must consist of more than “1abels and conclusions.” Twombly, 550 U.S. at 555. Although the
statute of limitations is an affirmative defense on which a defendant bears the burden of proof,
courts may nonetheless dismiss a case on statute of limitations grounds if a complaint, on its
face, “clearly shows the claim is out of time.” Harris v. Cz`ly ofNew York, 186 F.3d 243, 250 (2d
Cir. 1999).

Since the Plaintiff is proceeding pro se, his pleadings are held to “less stringent standards
than formal pleadings drafted by lawyers.” Erz`c/cson v. Pardus, 551 U.S. 89, 94 (2007) (internal
quotation marks omitted). Accordingly, the Court interprets Plaintiff s pleadings “to raise the
strongest arguments that they suggest.” Fullon v. Goora’, 591 F.3d 37, 43 (2d Cir. 2009).

To the extent that Plaintiff attempts to assert claims under Title Vll or under the
Americans with Disabilities Act (“ADA”) against Corningz, these claims fail for two separate
reasons First, the Complaint does not allege that Plaintiff is a member of any protected class or
otherwise has a disability that is covered by these statutes See Gasparz`k v. Srony Brook Univ.,
296 F. App’x. 151, 152-53 (2d Cir. 2008) (“Even if we were to read plaintiffs pro se pleadings
as an effort to establish a claim for employment discrimination under Title Vll of the Civil
Rights Act, dismissal would be appropriate, as plaintiff failed to allege that he is a member of a

class protected by the Act.”); Decm v. Um'v. al Bujj‘alo Sch. ofMed. & Biomedz`cal Sci., 804 F.3d

 

2 ADA and Title Vll claims do not provide for individual liability, so these claims cannot be

brought against Marino.
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178, 187 (2d Cir. 2015) (“To establish aprima/`acz'e violation under [the ADA], a plaintiff must
demonstrate (l) that she is a qualified individual with a disability; (2) that the defendants are
subject to one of the Acts; and (3) that she was denied the opportunity to participate in or benefit
from defendants’ services7 programs, or activities, or was otherwise discriminated against by
defendants, by reason of her disability.”) (internal quotation marks and citation omitted).
Although Plaintiff does not need to meet his prima facie burden at the pleading stage, he must
still allege facts that suggest an inference of discriminatory motivation See Vega v. Hempstead
Um'on Free Sch. Dz'sl., 801 F,3d 72, 85 (2d Cir. 2015). Since the Plaintiff has not alleged that he
belongs to any protected class or suffers from any disability, he has failed to meet even this
minimal burden

The failure to allege that he is a member of a protected class or otherwise suffers from a
disability is fatal to Plaintiff`s Title Vll and ADA claims. But even putting those failures aside,
before Plaintiff could initiate a federal employment discrimination suit, he was required to first
exhaust his claim in accordance with the regulations of the Equal Employment Opportunity
Commission (“EEOC”). Brl`ones v. Runyon, 101 F.Bd 287, 289 (2d Cir. 1996). Section 12117(a)
of the ADA makes the procedural requirements of Title Vll, as set out in 42 U.S.C. § 2000e-5,
applicable to claims under the ADA. 42 U.S.C. § 12117(a). S€e Blackell' v. Parhmark Stores,
lnc., No. 01 ClV. 6913 (DLC), 2002 WL 31385817, at *3 (S.D.N.Y. Oct. 21, 2002).

Under Title Vll and the ADA, a litigant must first receive a right to sue letter from the
EEGC, and a plaintiff must then file their action in federal court within 90 days of receiving the
EEOC’s right to sue letter. .]ohnson v. St. Barnabas Nursz`ng Home, 568 F. Supp. 2d 399, 400
(S.D.N.Y. 2008) q/jf’c/, 368 F. App’x 246 (2d Cir. 2010).

ln this case, Plaintiff did not file an administrative claim with the EEOC, so he never

received a right to sue letter. Although the Plaintiff checked the box on the form Complaint to

(.).)

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indicate that he received a right to sue letter and further indicated that the letter was dated
September 6, 2011, the letter he attached (which is dated September 6, 2011) is from the United
States Department of Labor (“D()L”), and not from the EEC)C. The letter from the DOL is not a
substitute for a right to sue letter from the EEOC, and even if it were, Plaintiff’ s Complaint was
still filed some 15 months after he received the DOL letter, which is outside of the 90 day
limitation Since Plaiiitiffs ADA and 'l`itle Vll claims fail to state a claim, and because Plaintiff
failed to exhaust his administrative remedies prior to filing his federal lawsuit, these claims must
be dismissed

Plaintiff also appears to allege claims under the Family l\/ledical Leave Act (“FMLA”)
against Corning and l\/larino3 . However, the statute of limitations that generally applies to claims
under the FMLA is two years. See 29 U,S.C. § 2617(c)(1). Here, Plaintiff was terminated from
employment with Corning on January 8, 2010, and filed his Complaint with this Court on
January 4, 2013 - almost a year too late. in responding to the Defendants’ motions to dismiss,
Plaintiff concedes this fact, stating “Yes, l see as the Defendants pointed out that time has
expired on my many claims (Fl\/ILA, Union Arbitration, etc.).” ECF No. 15, at 1. Since the
parties agree that the applicable statute of limitations on Plaintiff s FMLA claims expired prior to
commencing this action, those claims must also be dismissed

Finally, Plaintiff alleges that Local 1000 breached its duty of fair representation to
Plaintiff by not pursuing his claims through arbitration Plaintiff admits that Local 1000 notified
him that it would not arbitrate his grievance in September of 2010. ECF No. 1, at 13. The
applicable statute of limitations on duty of fair representation claims is six months, and the time
period begins running no later than when the Plaintiff “knew or reasonably should have known

that such a breach [of the duty of fair representation] had occurred.” Cohen v. Flushing Hosp. &

 

3 Fl\/ILA claims are not actionable against Local 1000, since the union was not Plaintiff’ s employer

as that term is defined by 29 U.S.C. § 2611(4).
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Med. Ct)"., 68 F.3d 64, 67 (2d Cir. 1995). Here, the Plaintiffs claim accrued in September of
2010 when he was informed that the union would not arbitrate his grievance, but his Complaint
was not filed with this Court until January 4, 2013. As previously mentioned7 Plaintiff has
conceded that these claims were untimely, .s'ee ECF No. 15, at 1, and because the claim is indeed
untimely, it must also be dismissed
CONCLUSIC)N

Because the Plaintiff"s Complaint fails to state a claim upon which relief could be
granted, Defendants’ motions to dismiss the Complaint (ECF Nos. 9, 10) are GRANTED, and
this case is dismissed with prejudice 'l`lie Clerk of the Court is directed to enter judgment and to

close this case.

lT IS SO ORDERED.

Dated: l\/larch 31, 2016
Rochester, New York

 

 

